Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 1 of 8 PageID #: 47




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
NYKIA HINES,
                                                                      FIRST AMENDED
                                          Plaintiff,                  COMPLAINT
                           -against-                                  14 CV 5955 (ILG) (MDG)
Police Officer SMITHU SAMUEL, Shield No.                              Jury Trial Demanded
10442; Police Officer BRIAN L. MECSERI, Shield
No. 14125; Police Officer PATRICK BURNETT,
Shield No. 30205; Police Officer David Small; and
JOHN and JANE DOE 2 through 10, individually
and in their official capacities (the names John and
Jane Doe being fictitious, as the true names are
presently unknown),
                                          Defendants.
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                                NATURE OF THE ACTION
          1.    This is an action to recover money damages arising out of the violation

of plaintiff’s rights under the Constitution.

                               JURISDICTION AND VENUE
          2.    This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

Fourth, Fifth, Sixth and Fourteenth Amendments to the Constitution of the United

States.

          3.    The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331 and

1343.

          4.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 2 of 8 PageID #: 48




                                    JURY DEMAND
       5.     Plaintiff demands a trial by jury in this action.

                                        PARTIES
       6.     Plaintiff Nykia Hines (“plaintiff” or “Ms. Hines”) is a resident of Kings

County in the City and State of New York.

       7.     Defendant Police Officer Smithu Samuel, Shield No. 10442 (“Samuel”),

at all times relevant herein, was an officer, employee and agent of the NYPD.

Defendant Samuel is sued in his individual and official capacities.

       8.     Defendant Police Officer Brian L. Mecseri, Shield No. 14125

(“Mecseri”), at all times relevant herein, was an officer, employee and agent of the

NYPD. Defendant Mecseri is sued in his individual and official capacities.

       9.     Defendant Police Officer Patrick Burnett, Shield No. 30205 (“Burnett”),

at all times relevant herein, was an officer, employee and agent of the NYPD.

Defendant Burnett is sued in his individual and official capacities.

       10.    Defendant Police Officer David Small (“Small”), at all times relevant

herein, was an officer, employee and agent of the NYPD. Upon information and

belief, defendant Small was the cell attendant at the 79th Precinct. Defendant Small is

sued in his individual and official capacities.

       11.    At all times relevant defendants John and Jane Doe 2 through 10 were

police officers, detectives or supervisors employed by the NYPD. Plaintiff does not
                                            -2-
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 3 of 8 PageID #: 49




know the real names and shield numbers of defendants John and Jane Doe 2 through

10.

         12.   At all times relevant herein, defendants John and Jane Doe 2 through 10

were acting as agents, servants and employees of the City of New York and the

NYPD. Defendants John and Jane Doe 2 through 10 are sued in their individual and

official capacities.

         13.   At all times relevant herein, all individual defendants were acting under

color of state law.

                               STATEMENT OF FACTS
         14.   At approximately 6:00 a.m. on February 2, 2014, Ms. Hines was lawfully

present in the vicinity of Tompkins Avenue and Quincy Street in Brooklyn, New

York.

         15.   Ms. Hines witnessed multiple police officers assaulting her boyfriend.

         16.   From a reasonable distance, in a reasonable tone, and without interfering

with any officer, Ms. Hines asked the officers why they were assaulting her boyfriend.

         17.   Without probable cause or reasonable suspicion to believe she had

committed any crime or offense, an officer then handcuffed and falsely arrested Ms.

Hines.

         18.   Plaintiff was taken to the 79th precinct.

         19.   At the precinct, plaintiff was searched, her shoes and jacket were taken
                                             -3-
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 4 of 8 PageID #: 50




from her, and she was left alone and barefoot in a cell.

       20.    While plaintiff remained in handcuffs in the cell, a male officer entered

the cell, shoved Ms. Hines against the wall, and groped her under her dress while

pretending to conduct a pat down search.

       21.    Ms. Hines pleaded with the officer, to no avail, for a female officer to

conduct the search.

       22.    Another male defendant officer entered the cell and Ms. Hines was

physically assaulted.

       23.    At the precinct defendants falsely informed employees of the Kings

County District Attorney’s Office that they had observed plaintiff, inter alia, obstruct

governmental administration.

       24.    At no point did the officers observe Ms. Hines commit any crime or

offense.

       25.    Ms. Hines was taken to Brooklyn Central Booking and, after spending

approximately 24 hours in custody, arraigned and released on her own recognizance.

       26.    The criminal charges against plaintiff were subsequently adjourned in

contemplation of dismissal.

       27.    Ms. Hines sustained injuries including bruising to her wrists from the

handcuffs and a black eye.




                                           -4-
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 5 of 8 PageID #: 51




      28.       Ms. Hines suffered damage as a result of defendants’ actions. Plaintiff

was deprived of her liberty, suffered emotional distress, mental anguish, fear, pain,

bodily injury, anxiety, embarrassment, humiliation, and damage to her reputation.

                               FIRST CLAIM
                         Unlawful Stop and Search
    (against Samuel, Mecseri and Burnett as to stop and all defendants as to
                                  search)

      29.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      30.       Defendants violated the Fourth and Fourteenth Amendments because

they stopped and searched plaintiff without reasonable suspicion.

      31.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages herein before alleged.

                                  SECOND CLAIM
                  False Arrest (against Samuel, Mecseri and Burnett)

      32.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      33.       Defendants violated the Fourth and Fourteenth Amendments because

they arrested plaintiff without probable cause.

      34.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.


                                            -5-
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 6 of 8 PageID #: 52




                                 THIRD CLAIM
                     Unreasonable Force (against all defendants)

      35.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      36.       The defendants violated the Fourth and Fourteenth Amendments

because they used unreasonable force on plaintiff.

      37.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.

                                 FOURTH CLAIM
                     Denial Of Constitutional Right To Fair Trial
                       (against Samuel, Mecseri and Burnett)
      38.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      39.       The individual defendants created false evidence against plaintiff.

      40.       The individual defendants forwarded false evidence to prosecutors in the

Kings County District Attorney’s office.

      41.       In creating false evidence against plaintiff, and in forwarding false

information to prosecutors, the individual defendants violated plaintiff’s right to a fair

trial under the Due Process Clause of the Fifth, Sixth and Fourteenth Amendments of

the United States Constitution.



                                             -6-
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 7 of 8 PageID #: 53




      42.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.

                                   FIFTH CLAIM
                     Failure To Intervene (against all defendants)
      43.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      44.       Those defendants that were present but did not actively participate in the

aforementioned unlawful conduct observed such conduct, had an opportunity prevent

such conduct, had a duty to intervene and prevent such conduct and failed to

intervene.

      45.       Accordingly, the defendants who failed to intervene violated the Fourth,

Fifth, Sixth and Fourteenth Amendments.

      46.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.




                                            -7-
Case 1:14-cv-05955-ILG-MDG Document 11 Filed 03/16/15 Page 8 of 8 PageID #: 54




                             PRAYER FOR RELIEF

      WHEREFORE, plaintiff respectfully requests judgment against defendants as

follows:

      (a) Compensatory damages against all defendants, jointly and severally;

      (b) Punitive damages against the individual defendants, jointly and severally;

      (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

      (d) Such other and further relief as this Court deems just and proper.

Dated:      March 16, 2015
            New York, New York

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                                          -8-
